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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK

JAMES CONTANT, et al.,

Plaintiffs,                                Civil Action No. 17-cv-3139-LGS

v.                                         (related to No. 13-cv-7789-LGS)

BANK OF AMERICA CORPORATION, et al.,

Defendants.



         REPLY MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION
       FOR DISBURSEMENT OF THE INTEREST INCOME EARNED ON THE
                         SETTLEMENT FUNDS
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        Any legal claims AMA may have had regarding any claim determination have been

discharged by res judicata under principles of issue and claim preclusion. AMA lost its litigated

claim determination in this Court and the Second Circuit, which held AMA failed to preserve

any other challenge to the Settlements prior to its appeal: those Orders are final. AMA appeared

before this Court on October 7, 2021, well within the period to challenge final approval under

Rule 60. AMA’s untimely arguments rely on assumptions and ignore (or rewrite) the Settlement

Class Definitions. As discussed below, AMA’s argument regarding FX Primus misapprehends

the geographic requirements of the Settlement Definitions; nevertheless, for independent reasons,

a 3.3% reduction (equal to                   of FX Primus’ approved claim would be appropriate.

I.      BACKGROUND

        This Court entered Final Judgment, Order of Dismissal with Prejudice and Order

Granting Motion for Final Approval of Class Settlements (ECF 460), finding the Plan of

Allocation had “a reasonable basis and is fair and adequate.” Id. No one opposed or appealed.

AMA’s claim was approved in part and denied in part. ECF 490-1. After a challenge and

briefing, this Court upheld the Administrator’s determination of AMA’s claim. ECF 516, p.2 1

AMA’s motions for reconsideration (ECF 534) and intervention (ECF 537) were denied. ECF

563. Plaintiffs moved to distribute the Settlement funds (ECF 538); AMA opposed. ECF 551.

        This Court approved every claim determination, but suspended distributions pending

resolution of AMA’s appeal (ECF 562, ¶4) and held that “Class Counsel, Heffler, applEcon and

all persons who are involved in the review, verification, calculation, tabulation or any other

aspect of the processing of the claims filed in this action, or who are otherwise involved in such

activities, are released and discharged from any claims arising out of the administration of


1
 This Court directed AMA to address its submission of duplicate claims in this case and FOREX. ECF 516, p.3.
AMA has never identified the duplicate transactions in its claims on which it seeks to be paid twice. ECF 526.


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Settlement Funds, except for any claim by AMA Capital Management LLC. Class Counsel can

make an application for release from AMA after AMA’s claim is resolved.” ECF 562, ¶10.

       AMA moved for reconsideration. This Court found: “AMA points to no issues with the

request for disbursement or claims administration process. AMA seeks to litigate its objection to

the rejection of its claim as an issue of fairness, but points to no evidence that it was treated

differently from any other similarly-situated class member.” ECF 563, p. 6. And, rejected

AMA’s challenge to the entire distribution based on “vague[]” arguments that “Class Counsel is

not distributing the funds in a fair and reasonable way” finding that “AMA points to no issues

with the request for disbursement or claims administration process” (id.), thus declining to

“transform the motion for disbursement into an opportunity for the sole objecting claimant to

scrutinize and seek justification for every decision made by Class Counsel and the Claims

Administrator in the administration and settlement.” Id. at 7. Finally, this Court expressly

resolved “AMA’s claimant dispute and the motion for disbursement [to] allow any objections to

the Court’s decision on either issue to proceed in tandem on appeal.” ECF 563, at p. 6.

       AMA appealed its claim determination, but not the decision on any other claim,

disbursement or the claims administration process. The Second Circuit affirmed this Court’s

orders and rejected AMA’s “unpreserved due process arguments.” Contant v. AMA Cap., LLC,

66 F.4th 59, 65 n.4 (2d Cir. 2023). AMA’s claim determination and challenge to all other claim

determinations is fully and finally resolved. Yet, AMA opposes the requested release and

discharge of its claims seeking, for at least the fourth time, to challenge the determination of its

claim by challenging every Option 1 claim determination, in a separate lawsuit before this Court

(as it has retained jurisdiction (ECF 562, ¶13)) against the Claims Administrator, Class Counsel

and applEcon, recycling arguments again looking “to scrutinize and seek justification for every




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decision made by Class Counsel and the Claims Administrator in the administration of the

settlement” (ECF 563, p. 7) despite this Court’s denial and finding of “discretion” afforded to the

Administrator and Class Counsel to determine documentation to resolve claims. ECF 516, p. 2.

II.      AMA’S CLAIMS ARE BARRED

         AMA’s opposition is “solely with regard to the requested release and discharge” (ECF

591, at 4); any challenge to any other relief Plaintiffs seek is waived. 2 Any claims AMA may

have had are now barred by res judicata and issue and claim preclusion. “Res judicata and

collateral estoppel are related but distinct doctrines that may bar a party from litigating certain

claims or issues in a subsequent proceeding.” Flaherty v. Lang, 199 F.3d 607, 612 (2d Cir.

1999). “Both doctrines have a common objective: the finality of judgments, and they often

overlap in a particular case.” Parker v. Corbisiero, 825 F. Supp. 49, 54 (S.D.N.Y. 1993). Federal

law applies to determine the preclusive effect of a federal judgment. Marvel Characters, Inc. v.

Simon, 301 F.3d 280, 286 (2d Cir. 2002). “‘When an issue of fact or law is actually litigated and

determined by a valid and final judgment, and the determination is essential to the judgment, the

determination is conclusive in a subsequent action between the parties, whether on the same or a

different claim.”’ B&B Hardware, Inc. v. Hargis Indus., Inc., 577 U.S. 138, 148 (internal citation

omitted). “Under the doctrine of res judicata, or claim preclusion, a final judgment on the merits

of an action precludes the parties or their privies from relitigating claims that were or could have

been raised in that action.” Marvel, 301 F.3d at 286-87.

         Citing Wyly v. Weiss, 697 F.3d 131, 144 (2d Cir. 2012), AMA argues it must have an

opportunity to litigate issues fully and fairly against Class Counsel. ECF 591, at 4. AMA had the



2
 See Contant, 66 F.4th at 65 n.4 (argument not made below waived on appeal); Hamilton v. Atlas Turner, Inc., 197
F.3d 58, 61 (2d Cir. 1999) (waiver is “litigant’s intentional relinquishment of a known right”); Mexico Infrastructure
Fin., LLC v. Corp. of Hamilton, 2020 WL 5646107, at *3 (S.D.N.Y. 2020) (knowing non-presentment is waiver).


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opportunity to object to the settlements, Plan of Allocation, distribution, any claim determination,

and litigated the determination of its claim and the fair and reasonable disbursement of the

settlement funds and lost. The Second Circuit also held AMA failed to preserve any other challenge

beyond those presented on appeal. Contant, 66 F.4th at 65 n.4. Final decisions have been rendered

as to each issue AMA could raise in a separate lawsuit: AMA is not entitled to endless challenges.

         Wyly is instructive. Wyly moved to vacate a class action settlement under Rule 60(b)

after it was revealed documents were withheld from class counsel. Because the documents

contained no new evidence of fraud, the motion was denied. Id. at 135-36. Wyly then sued class

counsel for malpractice. Id. Applying the doctrine of issue preclusion, the Second Circuit

precluded Wyly’s claim because it sought to “relitigate the District Court’s determination that

class counsel’s representation was reasonable” and found that Wyly’s allegations were a

collateral attack on the District Court’s findings that the Settlement was ‘fair, reasonable and

adequate.…’” Id. at 142. Consequently, Class Counsel had acted with the required professional

competence and thus Wyly was not permitted “to relitigate the same issue that the District Court

already resolved.” Id. (internal citations omitted). 3 The Second Circuit also recognized “The

District Court’s decision finds further support in a justified fear that allowing malpractice suits in

state court against these Appellees might ‘unleash such suits upon class counsel in fora far and

wide’ and thereby undermine the class action system as a whole.” Id. Here, AMA similarly

opposes a discharge of claims so that it can relitigate challenges already rejected and waived or

are precluded by Orders of this Court and the Second Circuit’s ruling.



3
  AMA cites authority on interlocutory orders to imply this Court has inherent authority to vacate the Distribution
Order. ECF No. 591, n.1. That Order is final. Rule 60 governs and AMA articulated no Rule 60 basis to void the
judgment. See United Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260, 271 (2010) (“Rule 60(b)(4) applies only in
the rare instance where a judgment is premised either on a certain type of jurisdictional error or on a violation of due
process that deprives a party of notice or the opportunity to be heard.”); Buxbaum v. Deutsche Bank AG, 216 F.R.D.
72, 81-82 (S.D.N.Y. 2003) (class member challenge to final approval challenge governed by Rule 60).


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III.     AMA’S UNTIMELY “ANALYSIS” OF OPTION 1 CLAIMS IS UNRELIABLE

         Based on AMA’s analysis, first disclosed on June 2, 2023 (Exhibit 1), it speculates

“many” Option 1 claims do not meet the Settlement Definitions because they were not

immediately offset. Class Counsel considered AMA’s analysis and extraordinary request for an

informal interrogation of Dr. Netz (tantamount to pre-complaint discovery on barred claims) and

concluded (even if AMA had valid claims) the analysis does not warrant further extending the

two-year delay of the distribution caused by AMA’s prior unsuccessful challenges or an

expensive, time-consuming reevaluation of every claim to test the theory. 4 The governing

Settlement Definitions do not require immediate trades. See ECF 420-3, at III(a)(i)-(viii). Yet,

AMA seeks to rewrite them by adding that the second transaction must be “immediate,” citing

the Second Amended Complaint and misattributed the Second Circuit’s decision (ECF 591, at

8) 5 which decision confirms the Administrator determined eligibility “pursuant to the class

definition” (66 F.4th at 64) that could have only been derived from the Settlement Definitions in

the Notice approved by this Court. See ECF Nos. 420-5 at 5-7 (approved at ECF No. 441). The

RFED subpoenas that yielded data to determine Option 1 claims track the Settlement Class

Definitions. See Exhibit 2 (Request 4: “transaction data identifying all FX transactions …

between [RFED] and [the RFED’s] retail customers” in affected states “including: a. the

customer, b. the Defendant…..”). By contrast, AMA relies on speculation based on statements in

one RFED’s SEC filings made between 2007-2015 – predating the productions by 4 years and


4
  “[A]pportionment of a settlement can never be tailored to the rights of each plaintiff with mathematical
precision…principal goal of a plan of distribution must be the equitable and timely distribution of a settlement fund
without burdening the process in a way that will unduly waste the fund.” In re Credit Default Swaps Antitrust Litig.,
No. 13-md-2476-DLC, 2016 WL 2731524, at*9 (S.D.N.Y. Apr. 26, 2016) (Cote, J.).
5
  AMA’s analysis cites information in Gain’s 2010 Form 10-K (which Gain does not discuss after 2012) regarding
“managed flow portfolio” but omits the portion of the document that states: “order flow that is initially directed into
our managed flow portfolio may be subsequently reclassified as offset flow… .” Thus, offset flow that is not
“immediate” can still meet the Definitions, explaining why AMA seeks to impose the “immediate” requirement.


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the Distribution Motion by 5 years. See Ex. 1. AMA then applies an erroneous correlation, based

on estimates of raw population data used by Class Counsel’s experts Bibbings and Netz (ECF

No. 593-2 at 4) who estimated that the number of retail FX accounts that may be in the

qualifying states would roughly equal the percentage of the US population living in them.

Without basis, AMA applies the population percentage estimate as an exact 1-for-1 proxy for the

dollar amount of transactional volume in the accounts. AMA compounds the error by assuming

only 11% of Gain’s transactions can fit each year in the Settlement Class Period because it

purports to have extrapolated figures for 3 years (2008-2010) of the 9 years (2007-2015) to

which it then applies the 11%. AMA also omits that between 2011 and 2015, approximately 96%

to 98% of Gain’s “average daily retail trading volume was either naturally hedged or hedged by

us with one of our liquidity providers,” suggesting 11% is not a reliable uniform estimate for the

nine-year period. 6 AMA’s reliance on Gain’s historical reporting of its customers’ transactional

volumes ignores that that information may not correlate to the data Gain produced because the

reported figures do not include retail FX accounts that Gain acquired during the Class Period. 7

IV.     FX PRIMUS’ OPTION 2 CLAIM

        AMA argues that plaintiff FX Primus was not registered to do business in Florida and is

thus an ineligible claimant. This untimely argument misconstrues the Settlement Definitions

which require only that a claimant have transacted in the state, i.e., “persons and entities who…


6
  https://www.sec.gov/Archives/edgar/data/1444363/000144436314000048/gcap2013123110-k.htm (97% in 2011,
2012, 96% in 2013); https://www.sec.gov/Archives/edgar/data/1444363/000144436315000054/gcap2014123110-
k.htm (96% in 2014); https:www.sec.gov/Archives/edgar/data/1444363/000144436316000218/gcap2015123110-
ka.htm (98% in 2015).
7
  Citing the Schwartz Declaration, AMA incorrectly states that Class Counsel referenced the acquisition of Gain in
2020. ECF 591, n.5. Although many such statements are incorrect, incomplete or out of context, counsel do not
undertake to correct the Declarations here because they are irrelevant to resolving the issue before the Court.
Accordingly, Counsel reserve the right to do so, as necessary. In fact, during the Class Period, Gain acquired the
retail FX accounts of Global Futures & Forex, Ltd. in 2012 and acquired FX Solutions LLC in 2013. See
https://www.sec.gov/Archives/edgar/data/1444363/000119312513112866/d440569d10k.htm; and
https://www.sec.gov/Archives/edgar/data/1444363/000144436314000048/gcap2013123110-k.htm.


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indirectly purchased an FX Instrument from a Defendant or co-conspirator in Florida and/or

while domiciled in Florida….” See, e.g., ECF 455-1 (emphasis added). Domicile or registration

to do business are not required. However, a modest reduction of FX Primus’ claim amount is

appropriate. FX Primus engaged in FX transactions in Florida and New York during the Class

Period. Analyzing the domicile argument on Reply, Settlement Class Counsel determined FX

Primus’ claim included transactions after March 2, 2015 that were not made in a qualifying state

which, if eliminated, would result in a                 reduction (equal to 3.3%) of the claim amount

from                 to                This error, which Settlement Class Counsel regret and for

which they accept ultimate responsibility, appears to stem from a miscommunication about the

proposed Class Period and the three operative Settlement Class Periods. 8 Although the claim

determinations are final and the effect is de minimis, the Court may exercise its inherent powers

to reduce the claim amount and direct                  and accrued interest be allocated pro rata to all

other approved claims, including AMA (whose claim amount would increase by                          before

interest). Courts have inherent equitable powers to approve a “change in the allocation of a

settlement fund….” Dahingo v. Royal Caribbean Cruises, Ltd., 312 F. Supp. 2d 440, 446

(S.D.N.Y. 2004); see also Knuckles v. Mary Jane Elliott, PC, No. 15-10175, 2016 U.S. Dist.

LEXIS 94858, at *15 (E.D. Mich. July 20, 2016) (in a cy press distribution “no class member

retained a live legal claim to those funds”).

V.      CONCLUSION

        The Additional Disbursement Motion should be granted, including the requested release

and discharge, and this litigation ended.


8
  The Second Amended Complaint alleges a class period of December 1, 2007 to December 31, 2013. ECF 183, at p.
25. The five settlement agreements use December 1, 2007 to December 15, 2015 (ECF 420-3); December 1, 2007
through preliminary approval (ECF 297) (July 29, 2019) and (ECF 441) (July 17, 2020). Thus, the governing
Settlement Class Periods expand the proposed Class Period and include various end dates in 2015, 2019 and 2020.


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